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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV20-11181-CAS(JPRx)                                                Date   August 4, 2022
 Title             NEMAN BROTHERS & ASSOC., INC. v. INTERFOCUS, INC. DBA
                   WWW.PATPAT.COM; ET AL. [AND RELATED COUNTERCLAIM]



 Present: The                    CHRISTINA A. SNYDER, UNITED STATES DISTRICT JUDGE
 Honorable
                      Catherine Jeang                                                 Not Present
                        Deputy Clerk                                      Court Reporter / Recorder
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          Not Present                                                 Not Present
 Proceedings:                 (IN CHAMBERS) - ORDER TO SHOW CAUSE



      IT IS HEREBY ORDERED that PLAINTIFF show cause in writing not later
than August 19, 2022, why this action should not be dismissed for lack of prosecution as
to defendant CAN WANG, only.

       In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule
7.15, oral argument shall not be heard in the above matter unless so ordered by the Court.
The Order to Show Cause will stand submitted upon the filing of briefs.

      Plaintiff is advised that the Court will consider an answer by defendant CAN
WANG, or plaintiff’s request for entry of default on this defendant on or before the
above date, as a satisfactory response to the Order to Show Cause.

                                                                                               00     :        00

                                                               Initials of Preparer                  CMJ




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